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Case:17-03283-LTS Doc#:19796-7 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
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Case:17-03283-LTS Doc#:19796-7 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
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Case:17-03283-LTS Doc#:19796-7 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
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